                   UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        CHARLOTTE DIVISION


UNITED STATES OF AMERICA
       V.                                        CASE NUMBER: 3:07CR61-2

Emmanuel Ellis Keller


       THIS MATTER is before the Court on an Order of Remand, filed 5/4/2011, from

the Fourth Circuit Court of Appeals for re-sentencing.

       NOW, THEREFORE, IT IS ORDERED that:

The Bureau of Prisons and the United States Marshals service is hereby ORDERED to

transport & produce the body of Defendant, Emmamuel Ellis Keller (USM# 98943-071),

for re-sentencing before the honorable Max O. Cogburn, in the Western District of

North Carolina, Charlotte not later than April 19, 2012, and upon completion of the re-

sentencing hearing, Defendant is to be returned to the custody of the Bureau of Prisons.

      The Clerk is directed to certify copies of this Order to the United States Attorney,

Defendant’s Counsel, the United States Marshal Service, and the United States

Probation Office.

      IT IS SO ORDERED.

                                            Signed: March 28, 2012




    Case 3:07-cr-00061-FDW-DCK         Document 586      Filed 03/28/12     Page 1 of 1
